                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

JEREMY ROTHE-KUSHEL,                                       )
                                                           )
                                    Plaintiff,             )
         v.                                                )            No. 18-00319-CV-W-BP
                                                           )
JEWISH COMMUNITY FOUNDATION                                )
OF GREATER KANSAS CITY, et al.,                            )
                                                           )
                                    Defendants.            )

         ORDER AND OPINION GRANTING DEFENDANT BRENT PARSONS’S
                    MOTION FOR SUMMARY JUDGMENT

         Plaintiff’s Complaint arises from an incident at the Kansas City Public Library, (“the

Library”), on May 9, 2016. Plaintiff filed suit against multiple parties, some of whom were later

dismissed by the Court and some of whom were dismissed pursuant to the parties’ stipulations.

The only remaining Defendant is Brent Parsons (who is sued in his individual capacity), and he

has filed a Motion for Summary Judgment.1 For the reasons set forth below, his motion, (Doc.

224), is GRANTED.2

                                              I. BACKGROUND

         Many of the relevant facts are uncontroverted, and the Court will provide citations to the

Record only as necessary.3 In 2015, the Jewish Community Foundation of Greater Kansas City,

(“JCF”) and the Truman Library Institute, (“TLI”), established a lecture series about President



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  The motion is filed jointly on behalf of Parsons and Defendant Michael Curley, but Plaintiff and Curley subsequently
stipulated to a dismissal of Plaintiff’s claims against Curley, (Doc. 231), so the Court will not address the motion
insofar as it relates to Curley.
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  Unless otherwise indicated all page numbers are those generated by the Court’s CM/ECF system and may not
correspond to the document’s original pagination.
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  The parties also present facts that will not be mentioned, either because (1) they relate to Curley, see footnote 1,
supra, (2) they are not relevant under the governing law, or (3) they are really opinions or arguments and not facts.



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Truman’s decision to recognize Israel and that decision’s impact on world events. One of the

lectures in the series was to be delivered by former ambassador Donald Ross, and that lecture was

to be held at the Truman Forum Auditorium located at the Library. Organizers planned for a

question and answer session following Ambassador Ross’s lecture. While the event was planned

and organized by JCF and TLI, the Library was regarded as (and identified as) a “co-sponsor” or

“co-presenter.”

         On May 3, 2016, a conference call was held to, inter alia, plan security for the lecture.

Those participating in the call included:


    •    JCF’s Executive Director, former Defendant Lauren Hoopes,

    •    JCF employees Brooke Hardy and former Defendant Joshua Stein,

    •    JCF’s head of security, former Defendant Blair Hawkins, and

    •    TLI’s Executive Director, Alex Burden.

During the conference, it was agreed that Hawkins would employ the services of off-duty police

officers to assist with security.          It was also agreed that those protesting or disturbing the

proceedings would be removed, and that during the question and answer period Hawkins would

remove individuals if their microphone was cut off. Plaintiff contends (and Parsons does not

disagree) that the Library imposed (or at least desired) limitations on the authority to remove

people, but this fact is not material to the issues before the Court.4

         Parsons was a detective for the Kansas City, Missouri Police Department, and was one of

the off-duty officers hired by Hawkins. The other two officers were former Defendants Sergeant


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  Plaintiff also makes much of a perceived difference between those who “protest” and those who “cause a
disturbance.” The Court is not convinced that there is much difference, given that a person could protest in a manner
that disturbed and disrupted the lecture. Regardless, given the Record and the issues before the Court, there is no need
to delve into this matter to resolve Parsons’s motion.


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Michael Satter and Detective Michael Curley. During the lecture, Parsons and Hawkins were in

the auditorium: Parsons was on the right side and Hawkins was in the back. Curley and Satter

were outside the auditorium.5

         The audiovisual equipment (including the microphones used for the Q-and-A session) were

operated by Leslie Case, a Library employee. The night of the lecture, she was approached by

Stein and former Defendant Kim Rausch (a TLI employee) and told that if she was given a signal,

she should mute the microphone. Case did not agree to this arrangement and resolved to use her

best judgment as to how to proceed. (Doc. 232-1, p. 173 (Woolfolk Trial Transcript, p. 176); Doc.

232-13, p. 25 (Case Dep., p. 98); Doc. 232, p. 40 (Plaintiff’s Uncontroverted Fact 74,

uncontroverted by Parsons).)

         As planned, a question and answer session began immediately after Ambassador Ross

concluded his lecture. Plaintiff was the first person to ask a question. His question and the

surrounding events are recorded, and the Court has been referred to two videos – one submitted

by Plaintiff in response to Parsons’s motion and one submitted by JCF in connection with its (now

moot) motion. The Court has viewed the videos, and they demonstrate that Plaintiff was permitted

to ask his question (which took nearly ninety seconds to ask).6 Ambassador Ross responded to


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 Plaintiff contends that Hawkins shared “the cut-the-mic plan for removal of ‘protestors’” with Parsons. (Doc. 232,
p. 12 (Response to Parsons’s Uncontroverted Fact 11).) As Parsons points out, none of the citations to the Record
provided by Plaintiff establish this fact. (But see Doc. 227-9, p. 2 (Hawkins Dep., p. 101).) Nonetheless, even if
Parsons knew about the arrangement, this fact is not helpful to Plaintiff because, as will be discussed below, the
decision to cut Plaintiff’s microphone was made by an employee of the Library.
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  Plaintiff controverts the assertion that he was allowed to ask his question without interference and has referred the
Court to the video. (Doc. 232, p. 13 (Response to Parsons’s Uncontroverted Fact 17).) He presents his own
characterization of events in other ways as well, such as when he denies that he interrupted or argued with Ambassador
Ross. “When opposing parties tell two different stories, one of which is blatantly contradicted by the record, so that
no reasonable jury could believe it, a court should not adopt that version of the facts for purposes of ruling on a motion
for summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007). The Eighth Circuit has applied Scott to hold that
a district court need not treat a fact as disputed when the fact is conclusively established by video evidence. E.g.,
Boude v. City of Raymore, 855 F.3d 930, 933 (8th Cir. 2017); Coker v. Arkansas State Police, 734 F.3d 838, 841 (8th
Cir. 2013). Therefore, the Court can deem facts depicted in the videos as conclusively established for purposes of
summary judgment.

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Plaintiff’s question, and Plaintiff began arguing with Ambassador Ross. During this exchange –

that is, after Ambassador Ross answered Plaintiff’s question and while Plaintiff was disagreeing

with Ambassador Ross – Case saw Stein approach Plaintiff. She thought Stein was asking Plaintiff

to relinquish the microphone to the next audience member with a question, so she muted the

microphone – which was consistent with the Library’s custom in such situations. (Doc. 232-13,

pp. 14, 23-24 (Case Dep., pp. 55-56, 92, 95-96); Doc. 232, p. 41 (Plaintiff’s Uncontroverted Fact

79, not controverted by Parsons).) Meanwhile, Hawkins was approaching Plaintiff, and he reached

Plaintiff at approximately the same time that Case cut the microphone. Plaintiff continued trying

to address Ambassador Ross, and Hawkins grabbed Plaintiff’s arm, told him “You’re done” and

tried to move him from the microphone. Plaintiff began yelling louder, tried pulling away from

Hawkins, and at one point can be heard yelling for Hawkins to let go of his arm. He continued

yelling even after the next questioner approached the microphone to ask her question of

Ambassador Ross. At some point, Parsons joined the fracas, but his actions are not clearly depicted

on the video (either because of the video’s poor quality or because he arrived outside of the

camera’s view). The Record reflects that in some manner Parsons helped Hawkins escort/remove

Plaintiff from the auditorium.

       Eventually, Plaintiff and Parsons (and possibly Hawkins) got to the lobby. Parsons directed

Curley to identify Plaintiff, and to that end Curley asked for Plaintiff’s identification. Plaintiff

declined to give Curley his identification until he was told why he had to provide it; Curley

requested the identification “[m]ultiple times” but Plaintiff did not provide it to him. (Doc. 225-

7, pp. 310-12 (Plaintiff’s Dep., pp. 310-12); Doc. 225, p. 11 (Parsons’s Uncontroverted Fact 43,

uncontroverted by Plaintiff).) Detective Parsons observed the exchange between Curley and

Plaintiff. (Doc. 225-2, ¶ 46.) And, at some point Detective Parsons determined that Plaintiff



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should be placed under arrest. Plaintiff “resisted . . . attempts to place handcuffs on him by tensing

up, pushing back, and refusing to give up his hands.” (Doc. 225-2, ¶ 47.)7

        Plaintiff was issued two citations. The first charged him with trespassing and the ticket

states that Plaintiff “was advised to leave the premises and refused to do so.” (Doc. 227-12, p. 4.)8

The second citation charged Plaintiff with obstructing or resisting a police officer for “pulling

away while being arrested.” (Doc. 227-12, p. 5.) These charges were eventually dismissed.

        There are five remaining claims against Parsons; they are contained in Counts I -III and

VII-VIII.9 Count I alleges that Parsons violated Plaintiff’s rights under the First Amendment and

Count II alleges that Parsons violated Plaintiff’s rights under the Fourth Amendment. Count III

alleges that Parsons conspired with Hoopes, Stein and JCF to violate Plaintiff’s First and Fourth

Amendment rights. Counts VII and VIII are based on state law; Count VII asserts a claim for false

arrest, and Count VIII asserts that Parsons conspired with Hoopes, Stein and JCF to stop people

from “posing uncomfortable questions to” or “raising unpopular viewpoints with” Ambassador

Ross. Parsons contends that he is entitled to summary judgment on all these claims, and Plaintiff

opposes summary judgment. As discussed further below, the Court agrees with Parsons that

summary judgment is appropriate.

                                              II. DISCUSSION

        A moving party is entitled to summary judgment on a claim only upon a showing that

“there is no genuine issue of material fact and that the moving party is entitled to a judgment as a


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  Plaintiff denies resisting but agrees that he “might have flinched a little bit, because I didn’t know what was
happening and it was unexpected.” (Doc. 225-7, p. 313 (Plaintiff’s Dep., p. 313).)
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  Plaintiff characterizes this ticket as charging him with trespassing on City property, which he finds problematic
because while the Library is public property it is not City property. However, neither the ticket nor the ordinance
referenced in the ticket (§ 50-102 of the Kansas City Code of Ordinances) refers to City property.
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  Parsons was not named in Counts III and IV. He was named in Count VI, which asserted a common-law battery
claim, but Plaintiff states that he is abandoning that claim. (Doc. 232, p. 61 n.10.)

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matter of law.” See generally Williams v. City of St. Louis, 783 F.2d 114, 115 (8th Cir. 1986).

“[W]hile the materiality determination rests on the substantive law, it is the substantive law’s

identification of which facts are critical and which facts are irrelevant that governs.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Thus, “[o]nly disputes over facts that might affect

the outcome of the suit under the governing law will properly preclude the entry of summary

judgment.” Wierman v. Casey’s Gen. Stores, 638 F.3d 984, 993 (8th Cir. 2011) (quotation

omitted). In applying this standard, the Court must view the evidence in the light most favorable

to the non-moving party, giving that party the benefit of all inferences that may be reasonably

drawn from the evidence. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587-

88 (1986); Tyler v. Harper, 744 F.2d 653, 655 (8th Cir. 1984), cert. denied, 470 U.S. 1057 (1985).

A party opposing a motion for summary judgment may not simply deny the allegations but must

point to evidence in the Record demonstrating the existence of a factual dispute. Fed. R. Civ. P.

56(c)(1); Conseco Life Ins. Co. v. Williams, 620 F.3d 902, 909-10 (8th Cir. 2010).

       For ease of discussion, the Court will address Count II first.

                               A. Count II – Fourth Amendment

       Parsons contends that he is entitled to summary judgment because he had probable cause

to arrest Plaintiff. He further argues that even if he did not have probable cause, he is entitled to

qualified immunity. Plaintiff argues to the contrary, contending that probable cause was so lacking

that Parsons is not entitled to qualified immunity. The Court agrees with Parsons.

       “Probable cause exists where the facts and circumstances within the officers’ knowledge

and of which they had reasonably trustworthy information are sufficient in themselves to warrant

a man of reasonable caution in the belief that an offense has been or is being committed.” Baribeau

v. City of Minneapolis, 596 F.3d 465, 474 (8th Cir. 2010) (cleaned up; quotation omitted). This is



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not a “high bar,” District of Columbia v. Wesby, 138 S. Ct. 577, 586 (2018), and “[b]ecause

probable cause is an objective standard, an arrest is lawful if the officer had probable cause to

arrest for any offense, not just the offense cited at the time of arrest or booking.” Id. at 585 n.2.

       The Court must also consider whether Parsons is entitled to qualified immunity. “Qualified

immunity protects governmental officials from liability for civil damages if they have not violated

clearly established statutory or constitutional rights of which a reasonable person would have

known. The qualified immunity doctrine provides protection to all but the plainly incompetent or

those who knowingly violate the law. It allows officers to make reasonable errors.” Clayborn v.

Struebing, 734 F.3d 807, 808 (8th Cir. 2013) (cleaned up). A state official is protected by qualified

immunity unless he (1) violated a statutory or Constitutional right that was (2) clearly established

at the time of the challenged conduct. E.g., Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011). When

considering whether an arresting officer is entitled to qualified immunity, the relevant question is

not whether he had probable cause, but whether he had arguable probable cause. E.g., White v.

Jackson, 865 F.3d 1064, 1074 (8th Cir. 2017). Here, the uncontroverted facts demonstrate that

Parsons had probable cause to arrest Plaintiff – and even if he did not, he had arguable probable

cause and is therefore entitled to qualified immunity.

                                             1. Trespass

       Parsons had probable cause to arrest Plaintiff for trespassing. Section 50-102(a) of the

Kansas City Code of Ordinances states that a person is trespassing “if he knowingly . . . remains

unlawfully in or on a building or inhabitable structure upon real property.” Because he was in the

auditorium, Parsons knew that Plaintiff had received an answer to his question and thereafter began

disagreeing/arguing with Ambassador Ross. Library personnel turned off Plaintiff’s microphone,

but Plaintiff continued addressing Ambassador Ross (albeit briefly) and did not yield to the next



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questioner. The person in charge of security (Hawkins) was obviously trying to get Plaintiff to

leave. Given his knowledge of these facts, Parsons had probable cause (or at least arguable

probable cause) to believe that Plaintiff was not lawfully remaining in the auditorium where the

lecture was being held.

         Plaintiff contends that he was never told to leave, so he could not have been trespassing.

While this contention may have served as a defense to the charge, this does not preclude Parsons

from having probable cause to believe that Plaintiff was trespassing; the events objectively

demonstrated that Plaintiff’s license to remain in the auditorium had been revoked and Parsons

confirmed with Hawkins that JCF wanted to press charges for trespass. (Doc. 225-1, p. 125

(Parsons Dep., p. 124); see also Doc. 101 (Plaintiff’s Amended Complaint) ¶¶ 201-03.) Plaintiff

points to the testimony of a Library official (Steven Woolfolk) and suggests that it establishes that

the Library did not regard him as a trespasser, but Woolfolk testified that he was “trying to prevent

[Plaintiff’s] removal from the building, not necessarily his arrest” because he “did not know that

he was being arrested.” (Doc. 232-22, p. 53 (Woolfolk Dep., p. 210).) He further testified he drew

a distinction between removing Plaintiff from the auditorium and removing him from the building,

and that “the idea was to get him away from the microphone and – get everybody away from the

microphone and into the lobby . . . . As far as I was concerned at that time, once we were certain

that everybody had their emotions in check, he could have returned.” (Doc. 232-22, p. 53

(Woolfolk Dep., pp. 210-11).)10 Regardless, there is no evidence that Woolfolk told Parsons any

of his thoughts, and as stated earlier Parsons knew that the event organizer regarded Plaintiff as a



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  At times Plaintiff seems to suggest that JCF could not deem someone to be a trespasser and only the Library could
do so. This point has not been established: the event was arranged by JCF and was taking place in the Library. Plaintiff
does not identify anything – other than the Library’s expectation – that precluded JCF from determining that someone
was trespassing at its event. More importantly, from the perspective of a reasonable officer in Parsons’s position (who
knew nothing about the Library’s expectations) JCF was permitted to determine that someone should leave the
auditorium where the event it had arranged was being held.

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trespasser. Under these circumstances, Parsons had probable cause to believe that Plaintiff was

trespassing.

                                   2. Refusing to Provide Identification

        Section 50-44 of the Code of Ordinances makes it unlawful to “in any way or manner

hinder, obstruct . . . resist or otherwise interfere with any . . . officer of the city police department

. . . in the discharge of his/her official duties . . . .” While Plaintiff was not charged with violating

this ordinance, Officer Parsons has probable cause to arrest him for this violation. And, as stated

above, the fact that Plaintiff was not arrested for this violation does not preclude a finding that

there was probable cause for such an arrest. Wesby, 138 S. Ct. at 585 n.2.

        Plaintiff does not deny that refusing to provide identification when asked violates § 50-44.

Instead, he denies that he refused to provide his identification, but this argument relates more to

guilt than to whether there was objective probable cause to support the arrest. The facts establish

that Plaintiff was asked more than once to provide his identification and that he did not do so.

Instead, he told Curley that he had identification but would not show it to him until certain of his

(Plaintiff’s) questions were answered. A reasonable officer in this situation could conclude that

there was probable cause to believe that Plaintiff violated § 50-44.

                                                 3. Conclusion

        The Court concludes that Parsons had probable cause to arrest Plaintiff, either for

trespassing or for refusing to provide his identification. Even if probable cause was lacking,

Parsons is entitled to qualified immunity because he had arguable probable cause. Accordingly,

Parsons is entitled to summary judgment on Count II.11



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  The Court’s discussion makes it unnecessary to consider Parsons’s argument that he had probable cause to arrest
Plaintiff for engaging in disorderly conduct or disturbing the peace. The Court also declines to address Plaintiff’s
argument that there was not probable cause to arrest him for resisting arrest because the facts that may or may not

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                                      B. Count I – First Amendment

         Plaintiff argues that interrupting his speech violated his First Amendment rights, (Doc. 232,

pp. 54-57), and that he was arrested based on the content of his speech. (Doc. 232, pp. 56-59.)

Parsons contends that he is entitled to summary judgment on this claim, and the Court agrees.

         For the sake of argument, the Court presumes that Plaintiff had a First Amendment right

to ask Ambassador Ross questions. Such a right was not limitless; he could not ask so many

questions that other audience members were deprived of the opportunity, and he had no right to

argue with Ambassador Ross (and no right to expect Ambassador Ross to engage in such an

argument). Nonetheless, the fact remains that Parsons did not interfere with Plaintiff’s ability to

ask Ambassador Ross questions. Plaintiff asked a question and got a response. Case was the

person who turned off Plaintiff’s microphone, and Hawkins was the person who initially moved

Plaintiff away from the microphone so the next person could ask a question. By the time Parsons

did anything, Plaintiff’s ability to further address Ambassador Ross had already been terminated

by others.

         Parsons is also entitled to summary judgment to the extent that Plaintiff contends his arrest

was based on the content of his question. Plaintiff argues that his arrest violated the First

Amendment even if it was supported by probable cause and supports this theory by relying on the

nature and content of his questions and arguments regarding others’ subjective beliefs. (Doc. 232,

pp. 58-59.) But the Supreme Court has held that a “plaintiff pressing a retaliatory arrest claim

must plead and prove the absence of probable cause for the arrest.” Nieves v. Bartlett, 139 S. Ct.

1715, 1724 (2019). Plaintiff has not discussed or differentiated Nieves, and the Court sees no basis



have constituted “resisting” occurred during the arrest for trespass, and thus could not have been the reason for the
arrest itself. He was charged with resisting arrest, but his “resistance” was not the reason for his arrest.


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for disregarding its holding. Therefore, given the Court’s conclusion that Parsons had probable

cause to arrest Plaintiff, Parsons is entitled to summary judgment on Count I.

                          C. Count III – Conspiracy to Violate Civil Rights

         Parsons contends that he is entitled to summary judgment on Plaintiff’s conspiracy claim

under federal law because the Record does not demonstrate a meeting of the minds among the

alleged conspirators as required by cases such as Murray v. Lene, 595 F.3d 868 (8th Cir. 2010).

Plaintiff did not respond to this argument (as pointed out by Parsons in his Reply Suggestions

(Doc. 242, p. 35 n.2)), and the Court deems this claim to have been abandoned.12

                                        D. Count VII – False Arrest

         A false arrest occurs when a person has been confined without legal justification. “[T]here

are only two elements: restraint of the plaintiff against his will, and the unlawfulness of that

restraint.” Blue v. Harrah’s North Kansas City, LLC, 170 S.W.3d 466, 472 (Mo. Ct. App. 2005).

Given the Court’s conclusion that Parsons had probable cause to arrest Plaintiff, Parsons is entitled

to summary judgment on Count VII.13

                                 E. Count VIII – State Law Conspiracy

         Under Missouri law, a civil conspiracy “is an agreement or understanding between persons

to do an unlawful act, or to use unlawful means to do a lawful act.” Oak Bluff Partners, Inc. v.

Meyer, 3 S.W.3d 777, 780-81 (Mo. 1999) (en banc). However, it is not an independent cause of

action; instead, a civil conspiracy is a theory of vicarious liability that extends liability to all

members who agree to commit a tort, including those who did not personally engage in the tortious




12
 The Court also notes that its review of the Record failed to reveal any evidence that would support a meeting of the
minds between Parsons and anyone else to violate Plaintiff’s civil rights.
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   This conclusion makes it unnecessary to consider Parsons’s argument that he is entitled to official immunity under
state law.

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act. Central Trust & Inv. Co. v. Signalpoint Asset Mgt., LLC, 422 S.W.3d 312, 324 (Mo. 2014)

(en banc); see also Amesquita v. Gilster-Mary Lee Corp., 408 S.W.3d 293, 304 (Mo. Ct. App.

2013); Envirotech, Inc. v. Thomas, 259 S.W.3d 577, 586 (Mo. Ct. App. 2008).

       As with his federal conspiracy claim, Plaintiff has not responded to Parsons’s argument

that he is entitled to summary judgment on the state conspiracy claim. (See Part II.C, supra.)

Moreover, Parsons correctly argues that there is no evidence that any person committed an

underlying tort, and without an underlying tort a civil conspiracy claim cannot be maintained. E.g.,

Hibbs v. Berger, 430 S.W.3d 296, 320 (Mo. Ct. App. 2014); Haney v. Fire Ins. Exchange, 277

S.W.3d 789, 793 (Mo. Ct. App. 2009). For these reasons, Parsons is entitled to summary judgment

on Count VIII.

                                       III. CONCLUSION

       For the reasons stated above, Parsons is granted summary judgment on the remaining

counts asserted against him (Counts I, II, III, VII and VIII).

IT IS SO ORDERED.


                                                      /s/ Beth Phillips
                                                      BETH PHILLIPS, CHIEF JUDGE
DATE: January 30, 2020                                UNITED STATES DISTRICT COURT




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